    Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 1 of 20 PageID #:255



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


    DENIS ZHIROVETSKIY, individually             )
    and on behalf of similarly situated          )
    individuals,                                 )
                                                 )          No. 17-cv-05876
             Plaintiff,                          )
                                                 )          Hon. Sharon Johnson Coleman
                             v.                  )
                                                 )
    ZAYO GROUP, LLC, a Delaware limited          )
    liability company,                           )
                                                 )
             Defendant.                          )
                                                 )

            FIRST AMENDED CLASS ACTION COMPLAINT & JURY DEMAND

       Plaintiff Denis Zhirovetskiy (“Plaintiff”), individually and on behalf of other similarly

situated individuals, brings this First Amended Class Action Complaint against Defendant, Zayo

Group, LLC (“Zayo” or “Defendant”), to stop Defendant’s collection, use, and storage of his and

other consumers’ sensitive biometric information in violation of the Illinois Biometric Information

Privacy Act, 740 ILCS 14/1, et seq. (“BIPA”), and to obtain redress for all persons aggrieved by

its conduct. Plaintiff alleges as follows based on personal knowledge as to his own acts and

experiences, and as to all other matters, upon information and belief, including an investigation

conducted by his attorneys.

                                       INTRODUCTION

       1.       This case concerns Zayo’s regular practice of capturing, collecting storing and

using Plaintiff’s and other consumers’ biometric identifiers and biometric information without

regard to the regulations imposed by BIPA and the concrete privacy rights and pecuniary interests

that BIPA protects.



                                                1
    Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 2 of 20 PageID #:256



       2.      Recognizing the serious harm that can come from unregulated collection and use

of biometrics, in 2008 Illinois passed BIPA, a statute of reasonable regulations addressing the

collection, use and retention of biometric identifiers and biometric information by private entities,

like Zayo.

       3.      A factor that influenced the Illinois Legislature in passing BIPA was the 2007

bankruptcy of a company that specialized in the collection and use of biometric information and

the subsequent fear of the risk of millions of digital fingerprint records being disseminated or sold

to unknown parties. Legislators feared this would happen without knowledge or consent of the

individuals whose biometrics were obtained and would result in such persons having no knowledge

of where their biometrics were or how they were being used. The Illinois Legislature passed BIPA

to provide consumers with statutory protection of their privacy rights; to ensure that they would

receive certain disclosures before a private entity could collect, obtain and/or use their biometrics;

to decrease the risk of a misappropriation of one’s identity or a similar compromise of one’s

privacy; and to ensure that individuals whose biometrics were being collected, obtained and/or

used could provide informed consent and be fully aware of how their biometrics were being

handled and disposed of.

       4.      Indeed, the Illinois Legislature passed BIPA in part because “biometrics are unlike

other unique identifiers that are used to access finances or other sensitive information”. 740 ILCS

14/5. For example, even sensitive information like Social Security numbers, when compromised,

can be changed. “Biometrics, however, are biologically unique to each individual and therefore,

once compromised, such individual has no recourse, is at a heightened risk for identity theft, and

is likely to withdraw from biometric facilitated transactions.” Id.




                                                  2
    Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 3 of 20 PageID #:257



       5.         BIPA defines a “biometric identifier” as any personal feature that is unique to an

individual and includes fingerprints, iris scans, palm scans, and DNA, among others. Under BIPA

“biometric information” is any information captured, converted, stored, or shared based on a

person’s biometric identifier which is used to identify an individual. 740 ILCS § 14/10.

       6.         As technology has continued to develop over the past decade, biometrics are

becoming more mainstream and are no longer relegated to esoteric corners of commerce. Many

businesses and financial institutions have incorporated biometric applications into their consumer

products, including such ubiquitous consumer products as checking accounts and cell phones.

       7.         BIPA provides, inter alia, that a private entity such as Defendant may not obtain

and/or possess an individual’s biometrics unless it first:

       (1) informs that person in writing that biometric identifiers or biometric information will

       be collected or stored;

       (2) informs that person in writing of the specific purpose and the length of term for which

       such biometric identifiers or biometric information is being collected, stored and used; and

       (3) receives a written release from the person for the collection of their biometric identifiers

       or biometric information.

       8.         A private entity in possession of biometric identifiers or biometric information is

also required to publish a publicly available written retention schedule and guidelines for

permanently destroying biometric identifiers and biometric information. 740 ILCS 14/15.

       9.         For companies wishing to comply with BIPA, such compliance is straightforward

and the necessary disclosures and written release can be easily achieved through a single signed

sheet of paper.




                                                   3
      Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 4 of 20 PageID #:258



          10.    Defendant is a telecommunications service provider and operator of data storage

facilities throughout the nation. Choosing to shun more traditional security measures like checking

ID’s, Defendant maintains a mandatory and invasive security protocol that relies on the collection,

storage, and use of consumers’ biometric identifiers and biometric information, while failing to

follow the reasonable regulations set by the BIPA and disregarding and the serious privacy

interests they protect.

          11.    The threat of a security breach resulting in the loss of data is significant and

Defendant acknowledges as much in its 2017 annual 10k report to the Securities and Exchange

Commission. In the report, under the section titled “Risks Related to Our Business,” Defendant

lists “physical or electronic security breaches” as well as “sabotage and vandalism.” These risks

are more than mere hypotheticals and include digitized biometric information. For example, in

2015, Zayo was the target of repeated attacks against its underground data infrastructure.

According to a Fortune story detailing the attacks against Zayo’s internet capabilities, the

“concerted strike” was “particularly alarming” and severed consumer access to the internet.1

          12.    Plaintiff brings this action for damages and other legal and equitable remedies

resulting from the illegal actions of Defendant in collecting, storing, and using Plaintiff’s and other

similarly situated consumers’ biometric identifiers and/or biometric information in direct violation

of the BIPA. 740 ILCS § 14/10.

          13.    On behalf of himself and the proposed Class defined below, Plaintiff seeks an

injunction requiring Defendant to cease all unlawful activity related to its collection, storage, use

and possession of biometric identifiers and/or biometric information and an award of statutory

damages to the Class members, together with costs and reasonable attorneys’ fees.



1
    http://fortune.com/2015/07/01/cutting-internet-cables/.


                                                  4
    Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 5 of 20 PageID #:259



                                               PARTIES

        14.     Defendant, an operator of data storage facilities in Illinois and elsewhere

throughout the nation, is a Delaware corporation that conducts business in Illinois.

        15.     Plaintiff is a resident and citizen of the state of Illinois.

                                    JURISDICTION AND VENUE

        16.     This Court has diversity jurisdiction under 28 U.S.C. § 1332(d), because (i) at least

one member of the putative class is a citizen of a state different from any Defendant, (ii) the amount

in controversy exceeds $5,000,000 exclusive of interests and costs, and (iii) none of the exceptions

under that subsection apply to the instant action.

        17.     This Court has personal jurisdiction over Defendant because Defendant transacts

business in Illinois and because a substantial part of the events giving rise to Plaintiff’s claims

arise out of Defendant’s unlawful in-state actions, as Defendant captured Plaintiff’s biometric

identifiers and/or biometric information in this State.

        18.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial

part of the events giving rise to Plaintiff’s claims occurred in this District, as the Defendant

captured Plaintiff’s biometric identifiers and/or biometric information at one of its data storage

centers located in this District.

                                           BACKGROUND

        19.     Illinois enacted BIPA to regulate entities such as Defendant that collect, store and

use biometric identifiers and biometric information, including fingerprints, iris scans, and

handprints.

        20.     Under BIPA, a private entity may not collect, capture, purchase, receive through

 trade, or otherwise obtain a person’s biometric identifier or biometric information unless it first:




                                                    5
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 6 of 20 PageID #:260



               (1) Informs the person in writing that a biometric identifier or biometric information

               is being collected;

               (2) Informs the person in writing of the specific purpose and length of time for

               which a person’s biometric identifier or biometric information is being collected,

               stored and used; and

               (3) Receives a written release executed by the subject of the biometric identifier or

               biometric information.

740 ILCS 14/15(b).

       21.     Section 15(a) of the BIPA also requires that a private entity in possession of

biometric identifiers or biometric information develop:

          a. A written policy;

          b. Available to the public;

          c. Which establishes a retention schedule and guidelines for permanently destroying

              biometric identifiers and biometric information;

          d. Within three years of the individual’s last interaction with the private entity, or when

              the initial purpose of for collecting or obtaining biometric identifiers and biometric

              information has been satisfied.

740 ILCS 14/15(a).

       22.     Defendant is a “private entity” as that term is defined under the BIPA. See 740

ILCS 14/10.

       23.     Defendant is constructively, if not actually, in possession of Plaintiff’s and other

consumers’ biometric identifiers and/or biometric information. Defendant not only possesses such




                                                 6
    Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 7 of 20 PageID #:261



biometrics but also advertises – and profits from – the fact that its data centers utilize biometrics

for security purposes.

       24.     While most businesses secure their facilities through traditional methods, such as

ID cards and key codes, Defendant uses consumers’ handprints and other biometric identifiers and

biometric information to identify and approve them for entry into its data centers. Defendant

accomplishes this through the use of biometric scanning devices, which capture, store and use

consumers’ biometrics in the form of handprints. These handprints and the data gleaned from

them constitute biometric identifiers and/or biometric information as defined by BIPA.        Every

time a consumer accesses one of Defendant’s biometrically-secured facilities, Defendant captures,

collects or otherwise obtains and/or uses his/her biometric identifiers and/or biometric information

in violation of BIPA.

       25.     Unlike ID cards or key codes—which can be changed or replaced if stolen or

compromised—handprints are unique, permanent biometric identifiers associated with the

individual. The capture, storage, use and potential dissemination of these permanent biometric

identifiers in violation of BIPA exposes Plaintiff and consumers to serious and irreversible privacy

risks and deprived them of the ability to make an informed decision with respect to providing their

biometric identifiers and/or biometric information.

       26.     As the recent Equifax Data Breach has made clear, digitally stored information is

notoriously difficult to protect and its dissemination can have disastrous consequences. This is

particularly true with biometrics, as the privacy risks associated with biometrics are unparalleled;

such information is more sensitive than even a person’s social security number because it cannot

be changed.




                                                 7
    Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 8 of 20 PageID #:262



       27.     BIPA regulates the possession of biometrics by, among other things, requiring

companies to develop retention policies related to the storage of biometrics and mandating that

such information be destroyed within three years of an individual’s last interaction with the

company.

       28.     BIPA also regulates how entities obtain individuals’ biometrics. BIPA requires

companies to not only provide certain disclosures to individuals, but also requires that they obtain

a written release from individuals prior to collecting their biometric identifiers and/or biometric

information.

       29.     Specifically, BIPA requires entities to inform individuals not only that their

biometrics will be collected or stored, but also of the purpose and length of term such information

will be collected, stored, and used. The statute also requires that entities receive a written release

from individuals and that they make a schedule for retaining and destroying such biometric

identifiers and biometric information available to the public. In this way, BIPA is specifically

designed to decrease the risk of privacy violations to individuals whose biometrics are being

captured, stored, and/or used. It also designed to protect those individuals’ right to be informed

with respect to the collection and use of their biometric identifiers and biometric information, and

allows them to make better informed decisions as to the circumstances under which they agree to

provide their biometric identifiers and/or biometric information.

       30.     BIPA is not a particularly prohibitive statute, and its narrowly tailored provisions

do not place an absolute bar on the collection, capture or transmission of biometric data. However,

BIPA does provide individuals with a private right of action so that they have a vehicle for

protecting their right to privacy in their biometric identifiers and biometric information and for

protecting their right to know the precise ways their biometric identifiers and biometric




                                                  8
    Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 9 of 20 PageID #:263



information will be used and disposed of. To effectuate this purpose BIPA simply mandates that

entities which elect to engage in the use of biometric systems do so with reasonable, disclosed

safeguards and only after receiving informed consent from the individual to take such biometric

identifiers and/or biometric information.

       31.     Defendant’s practices of collecting, obtaining, capturing, storing and using Illinois

residents’ biometric identifiers and/or biometric information are unlawful under the BIPA because

such practices fail to obtain a written release from individuals prior to collecting their biometric

identifiers and/or biometric information and fail to provide the disclosures required by BIPA.

Defendant’s practices therefore violate the specific statutory requirements of BIPA and severely

infringe on consumers’ right to privacy with regard to their biometric identifiers and biometric

information.

                              FACTS SPECIFIC TO PLAINTIFF

       32.     During the relevant period, Plaintiff was sent by his employer to one of Defendant’s

many data centers located in Illinois so that he could perform maintenance on his employer’s data

servers which were located inside Defendant’s facility. As a condition of entry into Defendant’s

facility and for purported security purposes, Plaintiff was required to submit to a mandatory and

invasive biometric hand-scan before he was permitted access to the part of the facility where his

employer’s servers were stored.

       33.     Plaintiff was hesitant to provide his biometric identifiers and/or biometric

information to Defendant and was concerned about what would become of his extremely personal

information. Nevertheless, because Plaintiff was required to access Defendant’s facility so that

he could perform work on behalf of his employer, he did not feel as though he had an option as to

providing his biometrics to Defendant.




                                                 9
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 10 of 20 PageID #:264



       34.     Defendant then captured Plaintiff’s biometric identifier and/or biometric

information by scanning Plaintiff’s handprint into its biometric security system without receiving

informed written consent from Plaintiff as required by BIPA. Plaintiff’s handprint and the

biometric information Defendant obtained from it was then stored, associated with his identity and

used by Defendant to identify Plaintiff and to provide access to its data center.

       35.     After Plaintiff’s handprint was initially captured, stored, used, and associated with

his identity, Defendant required Plaintiff to scan his handprint into one of its biometric security

devices as a condition of Plaintiff's access to its data center. Plaintiff subsequently visited

Defendant's data center on several occasions, and on each occasion Plaintiff's biometrics were

captured, stored and/or used by Defendant.

       36.     Defendant failed to inform Plaintiff in writing that they were collecting or storing

his biometric identifiers and/or biometric information.

       37.     Defendant also failed to inform the Plaintiff in writing of the specific purpose and

length of time for which his biometric identifier and/or biometric information was being stored

and used prior to capturing or collecting such information.

       38.     Plaintiff was never provided with, nor did he ever sign, a written release allowing

Defendant to collect, store or use his handprint and related biometric information.

       39.     Prior to taking Plaintiff’s biometric data and/or information Defendant also failed

to make a written policy available to Plaintiff or any other members of the public that established

a retention schedule and guidelines for permanently destroying the biometric identifiers and

biometric information that it collects, as required by the BIPA. 740 ILCS 14/15(a).

       40.     Defendant further failed to obtain written consent from Plaintiff for Defendant’s

transmission of Plaintiff’s biometrics to any third parties, including outside vendors. Defendant




                                                 10
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 11 of 20 PageID #:265



has also violated BIPA on each occasion it transmits such information to third parties without

consumers’ consent.

       41.     To this day, Plaintiff is unaware of the status of his biometric identifiers and

biometric information that were obtained by Defendant. Defendant has not informed Plaintiff

whether it still retains his biometric identifiers and/or biometric information, and if so, for how

long it intends to retain such information without Plaintiff's consent, or how such information is to

be treated in the event Defendant is acquired, sold or declared bankrupt.

       42.     By knowingly and willfully failing to comply with BIPA, Defendant has violated

consumers’, including Plaintiff’s, substantive privacy rights, and as a result, Plaintiff and the other

members of the Class have continuously been exposed to ongoing privacy invasion, with such

constant risk of exposure constituting a severe harm and violation of their rights.

       43.     A flurry of recent activity at Zayo, including insider stock sales in which the CEO

sold $10 million worth of Zayo stock, high-level executive departures, and weak corporate

earnings have alerted investors to possible trouble. These factors, combined with Zayo’s history

of “net losses since our inception” and the fact that they “may not be able to generate enough cash

flow to meet [their] debt obligations,” all increase the likelihood of future bankruptcy or the need

to sell assets which might include Plaintiff’s biometrics.

       44.     As a result of Defendant’s conduct, Plaintiff has also experienced bodily injury in

the form of mental anguish and anxiety. For example, Plaintiff has experienced mental anguish

and injury when he thinks about what would happen to his biometric information if Defendant

went bankrupt or otherwise sold its assets; when he wonders whether Defendant will ever delete

his biometric information; and when he wonders what would happen to his information and

identity if Defendant were to experience a data breach, such as the one recently experienced by




                                                  11
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 12 of 20 PageID #:266



Equifax. This harm is even more acute because an individual with access to his biometrics could

potentially access other accounts which may currently, or at some time in the future, be secured

through his biometrics.

       45.      Defendant’s failure to adhere to BIPA regulations addressing the collection, use,

safeguarding, handling, storage, retention and destruction of biometric identifier and biometric

information is not only harmful to Plaintiff, it has also created a public harm because it has and

will continue to decrease the public’s trust in the gathering and use of biometrics even when used

for legitimate purposes and in accordance with all relevant laws, an outcome the Illinois

Legislature sought to avoid. 740 ILCS 14/5 (g).

       46.      Plaintiff’s concern for the whereabouts of his biometric identifiers and/or biometric

information has also caused him to become leery of and less likely to participate in future biometric

transactions involving a third party, a result that the legislature was specifically attempting to avoid

by enacting BIPA. 740 ILCS 14/5 (c).

       47.      Because BIPA was specifically enacted to regulate an entity’s capture, collection,

storage and use of biometric identifiers and/or biometric information, and because Plaintiff and

the other putative class members’ biometric identifiers and/or biometric information were

captured, collected or otherwise obtained, and possessed by Defendant, all such individuals have

been aggrieved by Defendant’s conduct in violation of the statute.

                                         CLASS ALLEGATIONS

       48.      Plaintiff brings this action on behalf of himself and similarly situated individuals

pursuant to Rule 23 of the Federal Rules of Civil Procedure. Plaintiff seeks to represent a Class

defined as follows:

                All individuals whose biometric identifiers and/or biometric information was
                captured, obtained, stored or used by Defendant within the state of Illinois during



                                                  12
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 13 of 20 PageID #:267



                  the applicable limitations period.

        49.       Excluded from the Class are any members of the judiciary assigned to preside over

this matter; any officer or director of Defendant; and any immediate family member of such officer

or director.

        50.       Upon information and belief, there are hundreds, if not thousands, of members of

the Class, making the members of the Class so numerous that joinder of all members is

impracticable. Although the exact number of members of the Class is currently unknown to

Plaintiff, the members can be readily identified through Defendant’s records.

        51.       Plaintiff’s claims are typical of the claims of the Class members he seeks to

represent, because the factual and legal bases of Defendant’s liability to Plaintiff and the other

Class members are the same, and because Defendant’s conduct has resulted in similar injuries to

Plaintiff and to all of the other members of the Class. As alleged herein, Plaintiff and the other

putative Class members have all been subjected to the same conduct by Defendant and have all

suffered damages as a result of Defendant’s BIPA violations.

        52.       There are many questions of law and fact common to the claims of Plaintiff and the

other Class members, and those questions predominate over any questions that may affect

individual members of the Class. Common questions for the Class include, but are not limited to,

the following:

               a. Whether Defendant informed Class members in writing that it was collecting and

                  storing their biometric identifiers and/or biometric information;

               b. Whether Defendant obtained a written release from Class members before

                  capturing, collecting, or otherwise obtaining their biometric identifiers or biometric

                  information;




                                                   13
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 14 of 20 PageID #:268



             c. Whether Defendant developed and made available to the public a written policy

                which establishes a retention schedule and guidelines for permanently destroying

                biometric identifiers and biometric information;

             d. Whether Defendant provided a written disclosure to consumers that explains the

                specific purpose and the length of term, for which their biometric identifiers and

                biometric information are being collected, stored and used;

             e. Whether Defendant’s conduct violates the BIPA;

             f. Whether Defendant’s violations of the BIPA are willful and reckless; and

             g. Whether Plaintiff and the Class members are entitled to damages and injunctive

                relief.

       53.      Absent a class action, most members of the Class would find the cost of litigating

their claims to be prohibitively expensive, and would have no effective remedy. The class

treatment of common questions of law and fact is superior to multiple individual actions or

piecemeal litigation in that it conserves the resources of the courts and the litigants and promotes

consistency and efficiency of adjudication.

       54.      Plaintiff will fairly and adequately represent and protect the interests of the other

members of the Class he seeks to represent. Plaintiff has retained counsel with substantial

experience in prosecuting complex litigation and class actions. Plaintiff and his counsel are

committed to vigorously prosecuting this action on behalf of the other members of the Class and

have the financial resources to do so. Neither Plaintiff nor his counsel has any interest adverse to

those of the other members of the Class.

       55.      Defendant has acted and failed to act on grounds generally applicable to the

Plaintiff and the other members of the Class, requiring the Court’s imposition of uniform relief to




                                                 14
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 15 of 20 PageID #:269



ensure compatible standards of conduct toward the members of the Class and making injunctive

or corresponding declaratory relief appropriate for the Class as a whole.

                                            COUNTS I - VI
      Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq.,
                               (on behalf of Plaintiff and the Class)

          56.   Plaintiff incorporates by reference the foregoing allegations as if fully set forth

herein.

          57.   Illinois’ BIPA requires companies to obtain informed written consent from

individuals before acquiring their biometric data. Specifically, BIPA makes it unlawful to “collect,

capture, purchase, receive through trade, or otherwise obtain a person’s or customer’s biometric

identifiers or biometric information unless [the entity] first: (1) informs the subject . . . in writing

that a biometric identifier or biometric information is being collected or stored; (2) informs the

subject . . . in writing of the specific purpose and length of for which a biometric identifier or

biometric information is being collected, stored, and used; and (3) receives a written release

executed by the subject of the biometric identifier or biometric information . . . .” 740 ILCS

14/15(b).

          58.   BIPA also requires that companies in possession of biometric data establish and

maintain a publicly available retention policy. Entities such as Defendant that possess biometric

data must (i) make publicly available a written policy establishing a retention schedule and

guidelines for permanent deletion of biometric data (companies may not retain data longer than

three years after the companies’ last interaction with the customer); and (ii) must adhere to the

publicly posted retention and deletion schedule.

          59.   Defendant is a private entity under the BIPA.




                                                  15
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 16 of 20 PageID #:270



          60.    Plaintiff and the other Class members had their “biometric identifiers,” including

handprints, collected, captured, received or otherwise obtained by Defendant. Plaintiff and the

other Class members’ biometric identifiers were also used to identify them, and therefore

constitute “biometric information” as defined by the BIPA. 740 ILCS 14/10.

          61.    Each instance when Plaintiff and the other Class members scanned their handprints

into Defendant’s biometric security devices, Defendant captured, collected, stored, and used

Plaintiff’s and the Class members’ biometric identifiers or biometric information without lawful

consent as required by BIPA.

          62.    Defendant’s practices with respect to capturing, collecting, storing and using

biometric identifiers and information fail to comply with applicable BIPA requirements.

Specifically, Defendant failed to adhere to the following BIPA requirements, with each such

failure constituting a separate and distinct violation of BIPA and a separate and distinct cause of

action:

            I.   Defendant failed to inform Plaintiff and the members of the Class in writing that

                 their biometric identifiers or biometric information were being collected and stored,

                 as required by 740 ILCS 14/15(b)(1);

           II.   Defendant failed to inform Plaintiff and the members of the Class in writing of the

                 specific purpose for which their biometric identifier or biometric information was

                 collected, stored and used, as required by 740 ILCS 14/15(b)(2);

          III.   Defendant failed to inform Plaintiff and the members of the Class in writing of the

                 specific length of term their biometric identifier or biometric identifiers were

                 collected, stored and used, as required by 740 ILCS 14/15(b)(2);

          IV.    Defendant failed to obtain the written release required by 740 ILCS 14/15(b)(3);




                                                  16
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 17 of 20 PageID #:271



        V.      Defendant failed to provide a publicly available retention schedule detailing the

                length of time biometric identifiers and biometric information is stored or

                guidelines for permanently destroying the biometric identifiers and biometric

                information it stores, as required by 740 ILCS 14/15(a); and

       VI.      Defendant failed to obtain consent to disclose or disseminate the Class members’

                biometric identifiers or biometric information as required by 740 ILCS 14/15(d)(1).

       63.      By designing and operating a security system based on biometrics that was devoid

of the consumer protections required by BIPA and by advertising such security systems to attract

customers, Defendant profited from Plaintiff’s and the Class members’ biometric identifiers and

biometric information in violation of 740 ILCS 14/15(c).

       64.      By collecting, storing, and using Plaintiff’s and the other Class members’ biometric

identifiers and biometric information as described herein, Defendant violated Plaintiff’s and the

other Class members’ respective rights to privacy in their biometric identifiers or biometric

information as set forth in BIPA, 740 ILCS 14/15(a), and caused mental anguish and other

damages to Plaintiff and the other Class members.

       65.      BIPA provides for statutory damages of $5,000 for each willful and/or reckless

violation of the BIPA and, alternatively, damages of $1,000 for each negligent violation of the

BIPA. 740 ILCS 14/20(1).

       66.      Defendant’s violations of the BIPA, as set forth herein, were knowing and willful,

or were at least in reckless disregard of the statutory requirements. Alternatively, Defendant

negligently failed to comply with the BIPA disclosure, consent, dissemination, and policy posting

requirements.




                                                 17
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 18 of 20 PageID #:272



                                          COUNT VII
                                           Negligence
                              (On behalf of Plaintiff and the Class)

       67.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       68.     Defendant owed Plaintiff and the putative Class a reasonable duty of care in its

capture, collection, storage, use and possession of Plaintiff’s biometric identifiers and/or biometric

information. Under this duty Defendant was required to collect, capture, use and store Plaintiff

and the Class’s biometric identifier and/or biometric information in compliance with the

regulations set forth in BIPA.

       69.     Defendant breached it duty, which was informed by the BIPA requirements

promulgated by the Illinois Legislature, by failing to implement reasonable procedural safeguards

surrounding the collection and use of Plaintiff’s and the Class members’ biometric identifiers

and/or biometric information.

       70.     Specifically, Defendant breached its duty by failing to provide Plaintiff and the

Class members in writing of the specific purpose and length of time for which their respective

handprints were being collected, stored and used, as well as by failing to obtain Plaintiff’s and the

Class members’ prior written consent before collecting their biometric identifiers and/or biometric

information.

       71.     Defendant also breached its duty by failing to provide a retention schedule and

guidelines for permanently destroying Plaintiff’s and the Class members’ biometric identifiers and

biometric information.

       72.     Defendant’s breach of its duty of care proximately caused the ongoing violation of

Plaintiff’s and the Class members’ right to privacy.




                                                 18
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 19 of 20 PageID #:273



       73.      Defendant’s breach of its duty proximately also caused and continues to cause

Plaintiff and the other Class members mental anguish and mental injury. For example, Plaintiff

experiences mental anguish and injury when thinking about what would happen to his biometric

identifiers and biometric information if Defendant went bankrupt or otherwise sold its assets; when

he wonders whether Defendant will ever delete his biometric information; and when he wonders

what would happen to his information and identity if Defendant were to experience a data breach,

such as the one recently experienced by Equifax.

       74.      Accordingly, Plaintiff seeks damages in an amount to be determined at trial.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the proposed Class, respectfully

requests that this Court enter an Order:

             a. Certifying the Class as defined above, appointing Plaintiff as class representative

                and the undersigned as class counsel;

             b. Declaring that Defendant’s actions, as set forth herein, violate BIPA;

             c. Awarding injunctive and equitable relief as necessary to protect the interests of

                Plaintiff and the Class by requiring Defendant to comply with the BIPA

                requirements for the collection, storage, use and possession of biometric identifiers

                and biometric information;

             d. Awarding statutory damages of $5,000 for each willful and/or reckless violation of

                the BIPA, pursuant to 740 ILCS 14/20(1);

             e. Awarding statutory damages of $1,000 for each negligent violation of the BIPA,

                pursuant to 740 ILCS 14/20(3);




                                                 19
   Case: 1:17-cv-05876 Document #: 16 Filed: 10/10/17 Page 20 of 20 PageID #:274



           f. Awarding reasonable attorneys’ fees, costs, and other litigation expenses pursuant

               to 740 ILCS 14/20(3);

           g. Awarding pre- and post-judgment interest, as allowable by law; and

           h. Awarding such further and other relief as the Court deems just and equitable.

                                         JURY DEMAND

       Plaintiff requests trial by jury of all claims that can be so tried.

Dated: October 10, 2017                        Respectfully Submitted,

                                               DENIS ZHIROVETSKIY, individually and on
                                               behalf of a class of similarly situated individuals

                                               By: /s/ David L. Gerbie
                                                      One of His Attorneys
Myles McGuire
Evan M. Meyers
David L. Gerbie
MCGUIRE LAW, P.C.
55 W. Wacker Drive, 9th Fl.
Chicago, IL 60601
Tel: (312) 893-7002
mmcguire@mcgpc.com
emeyers@mcgpc.com
dgerbie@mcgpc.com

Attorneys for Plaintiff and the Putative Class




                                                  20
